        Case
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 8

 9                                UNITED STATES DISTRICT COURT
10                                       DISTRICT OF NEVADA
11 UNITED STATES OF AMERICA,                        )
                                                    )
12                 Plaintiff,                       ) Case No. 2:10-CR-217-PMP-PAL
                                                    )
13         v.                                       )
                                                    )
14 BOYAN GUEORGUIEV,                                )
                                                    )
15                 Defendant.                       )
16                  MOTION TO VACATE JUDGMENT DEBTOR EXAMINATION
17         COMES NOW the United States of America, by and through Daniel G. Bogden, United States

18 Attorney, and Brian Pugh, Assistant United States Attorney, and moves this Honorable Court for an

19 order to vacate the Supplementary Proceedings (Judgment Debtor Examination) scheduled for October

20 23, 2014 at 10:00 a.m. This motion is made because the United States Marshal Service or private

21 service was unable to locate the defendant Boyan Gueorguiev.

22         DATED this 1st day of October, 2014.

23                                                            DANIEL G. BOGDEN
                                                              United States Attorney
24
                                                              /s/ Brian Pugh
25                                                            BRIAN PUGH
                                                              Assistant United States Attorney
26
        Case
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 1                              UNITED STATES DISTRICT COURT
 2                                      DISTRICT OF NEVADA
 3

 4 UNITED STATES OF AMERICA,                        )
                                                    )
 5                Plaintiff,                        ) Case No. 2:10-CR-217-PMP-PAL
                                                    )
 6         v.                                       )
                                                    )
 7 BOYAN GUEORGUIEV,                                )
                                                    )
 8                Defendant.                        )
 9

10                                    ORDER TO VACATE JUDGMENT
                                         DEBTOR EXAMINATION
11

12         This cause came before the Court on Plaintiff’s Motion to Vacate, and good cause appearing.
13         IT IS HEREBY ORDERED, ADJUDGED, and DECREED that plaintiffs’ Motion to Vacate

14 Supplementary Proceedings (Judgment Debtor Examination) scheduled for October 23, 2014 at

15 10:00 a.m. be granted.

16

17

18                                 October 6,
           DATED this day of __________________ 2014.
19
                                                              _______________________________
20                                                            United States Magistrate Judge
21

22 SUBMITTED BY:

23 DANIEL G. BOGDEN
   United States Attorney
24

25 /s/ Brian Pugh
   BRIAN PUGH
26 Assistant United States Attorney
